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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION


ARTHUR BARRY SOTLOFF Individually and
as the Administrator of the Estate of STEVEN
JOEL SOTLOFF; SHIRLEY GOLDIE
PULWER, and LAUREN SOTLOFF,

     Plaintiffs,                                        Case No. 9:22-cv-80726
              v.

QATAR CHARITY and QATAR NATIONAL
BANK (Q.P.S.C.),

     Defendants.


     QATAR NATIONAL BANK (Q.P.S.C.)’S and QATAR CHARITY’S UNOPPOSED
      MOTION FOR EXTENSION OF TIME TO RESPOND TO THE COMPLAINT

         Pursuant to Southern District of Florida Local Rule 7.1(a)(3), Defendants Qatar National

  Bank (Q.P.S.C.) (“QNB”) and Qatar Charity (“QC”) hereby file their Unopposed Motion for

  Extension of Time to Respond to the Complaint, and in support thereof state as follows:

         1.        On June 8, 2023, this Court entered an Order [DE 80] requiring that “within three

  (3) days after the entry of the confidentiality order, Plaintiffs shall produce to Defendants

  documents that support the bank transfer alleged in paragraphs 106 through 109 of the Complaint

  [DE 1]” and that Defendants “shall file their answers and affirmative defenses within 14 days of

  the production of the bank transfer documents.”

         2.        The Confidentiality Order [DE 88] was entered on Friday, June 23, 2023.

         3.        On Monday, June 26, 2023, the first business day following the entry of the

  Confidentiality Order [DE 88], the materials which Plaintiffs contend support the wire transfer

  alleged in paragraphs 106 through 109 of the Complaint [DE 1], were hand delivered via courier



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  in sealed envelopes and receipt of same was confirmed by Edward Mullins, Esq., on behalf of

  Defendant QNB, and by Harout Samara, Esq., on behalf of Defendant QC.

            4.    On Thursday, June 27, 2023, the Parties filed a Joint Notice of Compliance [DE

  91] confirming that the “documents that support the bank transfer alleged in paragraphs 106

  through 109 of the Complaint [DE 1]” were produced by Plaintiffs to Defendants.

            5.    In accordance with the Court’s June 8, 2023 Order [DE 80], Defendants’ answers

  and affirmative defenses are due today, July 10, 2023—14 days after the production of the bank

  transfer documents.

            6.    The date that Plaintiffs produced the “documents that support the bank transfer

  alleged in paragraphs 106 through 109 of the Complaint [DE 1]”—which triggers the clock of

  when Defendants must file their answers and affirmative defenses— has coincided with the

  vacations of QC and QNB’s undersigned counsel, as well as the attorney at QNB overseeing this

  matter.

            7.    Moreover, the lead associates from the firm of undersigned counsel for QNB with

  the institutional knowledge of this matter are both currently on personal leave.

            8.    For these reasons, QNB and QC seek an extension of time of four days, up to and

  including July 14, 2023, to file their answers and affirmative defenses to the Complaint.

            9.    Plaintiffs have indicated that they have no opposition to extending the time for QNB

  and QC to respond to the Complaint up to and including July 14, 2023.

            10.   This request for extension is reasonable under the circumstances, is not sought for

  the purpose of delay, and will not prejudice any party.




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         WHEREFORE, Defendants QNB and QC respectfully request the Court to enter an Order

  granting an extension of time for QNB and QC to respond to the Complaint up to and including

  July 14, 2023.

                            LOCAL RULE 7.1(A)(3) CERTIFICATION

         Pursuant to Local Rule 7.1(a)(3), undersigned counsel for QNB and QC certify that they

  have conferred with Plaintiffs in a good faith effort to resolve the issues raised in this motion, and

  that Plaintiffs have indicated that they do not oppose the relief requested.


  Dated: July 10, 2023                                  Respectfully submitted,


                                                        /s/ Daniel Alvarez Sox

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                                           Counsel for Defendant Qatar National Bank
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